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                UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                                   GAINESVILLE DIVISION

JACQUELINE MEEKINS,

               Plaintiff,

v.                                                    Case No. 1:17cv56-MW/GRJ

T-MOBILE USA, INC.,

               Defendant.
                                           /

                 ORDER GRANTING DEFENDANT’S MOTION
                       TO COMPEL ARBITRATION

       This Court has considered, without hearing, Defendant T-Mobile USA,

Inc.’s motion to compel arbitration of Plaintiff Jacqueline Meekins’s claims.

ECF No. 13. For the reasons articulated below, the motion is GRANTED.

                                 I.      Factual Background 1

       This dispute arises from a distinctly modern problem—the incessant

pinging, vibrating, and beeps that the ubiquitous cell phone emits. In 1999,

Ms. Meekins purchased a cell phone from T-Mobile and entered into a Service

Agreement with the telecommunications behemoth. ECF No. 18 at 2. In 2013—



1 The facts upon which this Order is based are not in dispute. This Court acknowledges that if facts
were in dispute, an evidentiary hearing would be appropriate. See Multi-Fin. Secs. Corp. v. King, 386
F.3d 1364, 1368 (11th Cir. 2004) (finding an evidentiary hearing unnecessary “because the underlying
factual circumstances are undisputed”). See also Tandem Health Care of St. Petersburg, Inc. v.
Whitney, 897 So. 2d 531, 532–33 (Fla. 2d. DCA 2005) (listing state cases “in which the trial court can
determine the existence of an agreement to arbitrate without conducting an evidentiary hearing”).
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apparently ready to supplant her venerable 14 year-old device—Ms. Meekins

bought a replacement phone. Id. In December 2014, Ms. Meekins acquired a

new phone from T-Mobile. Id. at 3. At this time, she signed a Service

Agreement. Id. The Service Agreement states that “[b]y signing this form or

activating or using T-Mobile service, I acknowledge and agree that: . . .

Activation or use of T-Mobile service is your agreement to T-Mobile’s Terms

and Conditions and any terms specific to your rate plan.” 2 ECF No. 13-1, Ex.

2.

       During both purchases that she made in the twenty-first century, Ms.

Meekins claims to have not received T-Mobile’s Terms and Conditions, a label

that the new telephone was contained in, nor an arbitration agreement. ECF

No. 18, at 3. This apparent lack of document-sharing happened because a T-

Mobile representative removed the new cell phone from its packaging before

transferring information from the old phone to the new phone. Id. at 2–3.

Nevertheless, Ms. Meekins admits to executing a Service Agreement in

December 2014. ECF No. 18-1, at ¶ 6.

       In April 2016, the texting began. Ms. Meekins alleges that T-Mobile sent

a text message on or about April 20, 2016 regarding outstanding debt she had


2 This Court acknowledges the grammatical inconsistency contained in the Service Agreement; in
particular, the seemingly random shifts from the first-person point of view to the second-person point
of view throughout the document. This Court notes that the subject of the Agreement is clearly the
consumer who is agreeing to T-Mobile’s terms. Therefore, it does not strain credulity to assume that
the “I” and “your” refers to the same person—the consumer, Ms. Meekins.
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with T-Mobile. ECF No. 1, at 4. She requested the texts stop. Id. The texting

continued through August, numbering at least 20 individual messages. Id. at

4–5. Ms. Meekins filed suit under the Telephone Consumer Protection Act and

the Florida Consumer Collection Practices Act, alleging emotional distress,

anxiety, inconvenience, frustration, among other injuries. Id. at 5–6. T-Mobile

moves to compel arbitration under 9 U.S.C. §§ 3–4, basing its motion on T-

Mobile’s Terms and Conditions that require arbitration of disputes. ECF No.

13, at 1.

                              II.   Legal Analysis

      The crux of this dispute is whether the Service Agreement from Ms.

Meekins’s December 2014 purchase of a cell phone created an enforceable

arbitration agreement. It does.

      “[T]he first task of a court asked to compel arbitration of a dispute is to

determine whether the parties agreed to arbitrate that dispute.” Mitsubishi

Motors Corp. v. Soler Chrysler–Plymouth, Inc., 473 U.S. 614, 626 (1985). It is

state contract law, as the Eleventh Circuit has repeatedly held, that “governs

the issue of the existence of an agreement to arbitrate.” Bazemore v. Jefferson

Capital Sys., LLC, 827 F.3d 1325, 1330 (11th Cir. 2016). As Ms. Meekins

correctly points out, an enforceable contract under Florida law must contain

an offer, acceptance, consideration, and a “sufficient specification of the

essential terms.” Vega v. T-Mobile USA, Inc., 564 F.3d 1256, 1272 (11th Cir.

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2009); see also ECF No. 18, at 4. Ms. Meekins also accurately acknowledges

that, in Florida, the party moving for arbitration—T-Mobile, in this case—

shoulders the burden of showing that a valid and enforceable arbitration

agreement exists. See Shearson, Lehman, Hutton, Inc. v. Lifshutz, 595 So. 2d

996, 997 (Fla. 4th DCA 1992) (explaining that the party moving to compel

arbitration has “the burden of establishing that an enforceable written

agreement to arbitrate existed between the parties”).

     Here, T-Mobile has produced a Service Agreement that Ms. Meekins

executed in December 2014. ECF No. 13-1, Ex. 2. Ms. Meekins admits to

signing the agreement. ECF No. 18, at 3; see also ECF No. 18-1, at ¶ 6. This

document supports T-Mobile’s motion in two ways. First, the Service

Agreement explicitly declares—in capital letters, no less—that “T-MOBILE

REQUIRES ARBITRATION OF DISPUTES UNLESS I PREVIOUSLY

OPTED OUT PURSUANT TO T-MOBILE’S TERMS AND CONDITIONS.”

ECF No. 13-1, Ex. 2.

      Second, the Agreement states that “[a]ctivation or use of T-Mobile

service is your agreement to T-Mobile’s Terms and Conditions and any terms

specific to your rate plan.” Id. Both of these relevant terms in the Service

Agreement follow a bolded statement located at the beginning of the document:

“By signing this form or using T-Mobile service, I acknowledge and agree that:

. . .” Id. The signed Service Agreement demonstrates both the consumer’s

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acknowledgment of and agreement to T-Mobile’s Terms and Conditions as well

as the requirement to arbitrate disputes. Accordingly, a valid and enforceable

contract under Florida law exists. The document evidences an offer, the

signature and Ms. Meekins’s cell-phone usage demonstrates acceptance, the

exchange of money and cell-phone service shows consideration—all with the

essential terms of the Agreement specifically detailed. Simply put, T-Mobile

has shouldered its burden of production in showing the existence of an

agreement.

      In response, Ms. Meekins argues that the Service Agreement’s

arbitration language is merely a statement that T-Mobile requires arbitration

rather than a binding arbitration agreement. See ECF No. 18, at 6 (describing

the Service Agreement as “not alert[ing] her to an arbitration agreement but

instead states that T-Mobile requires arbitration of disputes unless Plaintiff

had previously opted out”).

      This argument is not persuasive. “Under normal circumstances,” the

Eleventh Circuit has held, “an arbitration provision within a contract

admittedly signed by the contractual parties is sufficient to require the district

court to send any controversies to arbitration.” Chastain v. Robinson-

Humphrey Co., Inc., 957 F.2d 851, 854 (11th Cir. 1992), abrogation on other

grounds recognized by Larsen v. Citibank, 2017 WL 4250074 (11th Cir. Sept.

26, 2017) (emphasis added). There are no indications that Ms. Meekins’s signed

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the Service Agreement under abnormal circumstances. Further, the Service

Agreement unequivocally contains an arbitration provision, which all binding

precedent requires to send a dispute to arbitration. The document does not

need to spell out an “alert” to an arbitration agreement, as Ms. Meekins

contends. ECF No. 18, at 6. Instead, the document need only contain a

provision—such as one “REQUIR[ING] ARBITRATION OF DISPUTES,” ECF

No. 13-1, Ex. 2—to successfully send a dispute to arbitration.

      Ms. Meekins also argues that the Service Agreement alone did not create

an arbitration agreement because T-Mobile did not attach its Terms and

Conditions to the agreement. See ECF No. 18, at 8–9. Assuming arguendo that

the arbitration provision in the Service Agreement did not create an

arbitration agreement, her argument still fails in the face of longstanding

precedent. An agreement can incorporate by reference another document,

which, in turn, binds the parties. “It is a generally accepted rule of contract law

that, where a writing expressly refers to and sufficiently describes another

document, that other document, or so much of it as is referred to, is to be

interpreted as part of the writing.” Int’l Fidelity Ins. Co. v. Americaribe-

Moriarty JV, 681 F. App’x 771, 775 (11th Cir. 2017) (quoting OBS Co. v. Pace

Constr. Corp., 558 So. 2d 404, 406 (Fla. 1990)). T-Mobile’s Service Agreement

referenced the Terms and Conditions with sufficient particularity and should,

therefore, “be interpreted as part of the writing.” Id. And, because the

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incorporated Terms and Conditions detail the requirements for arbitration, T-

Mobile’s motion to compel must be granted. See ECF No. 13-1, Exs. 1 & 3.

      Ms. Meekins next offers several arguments concerning the provisions of

the arbitration agreement in order to avoid arbitration with T-Mobile. She

argues that the arbitration agreement is void as to public policy because it is

an illusory agreement, it limits Ms. Meekins’s remedies, and it is both

procedurally and substantively unconscionable. See ECF No. 18, at 9–21.

Although Ms. Meekins’s arguments highlight some of the weaknesses in policy

rationales of arbitration agreements entered en masse from large entities like

T-Mobile, her arguments are not persuasive under existing law.

      First, the arbitration agreement is not illusory. In Florida, a contract is

illusory if “one party can change or end the contract at its own option while the

other party is still bound to its performance.” Diverse Elements, Inc. v.

Ecommerce, Inc., 5 F. Supp. 3d 1378, 1382 (S.D. Fla. 2014) (citing Feldkamp v.

Long Bay Partners, LLC, 773 F. Supp. 2d 1273, 1284 (M.D. Fla. 2011)). If one

of the parties to the contract reserves modification rights, “that reservation

must be subject to certain limitations,” such as reasonable notice. Id.

      Here, T-Mobile’s arbitration agreement—contained in the Terms and

Conditions and Service Agreement—is not illusory because T-Mobile cannot

unilaterally change the agreement without notice to the consumer. That is, T-

Mobile’s contract modification is “subject to certain limitations” and not an

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unlimited and unchecked power indicative of an illusory contract. Id.

Specifically, the Terms and Conditions describe how T-Mobile must provide 30

days’ notice to consumers if T-Mobile seeks to modify the document; consumers

then have 14 days to end T-Mobile’s service. ECF No. 13-1, Exs. 1 & 3, at ¶ 6.

      Ms. Meekins’s reliance on the termination provision in the Terms and

Conditions misses the mark because that provision is primarily focused on

consumers’ breaches of the contract. For example, T-Mobile may unilaterally

terminate cell-phone service if a consumer “(a) breaches the Agreement; (b)

incurs Charges greater than any billing or credit limitation . . . (g) misuses

[the] Service or Device . . . [and] (h) uses [the] Service or Device in a manner

that is excessive, unusually burdensome, or unprofitable to us.” Id. at ¶ 19.

Even if the termination provision were apposite, T-Mobile’s termination would

impact the entire agreement and Ms. Meekins would not be “still bound to its

performance.” Diverse Elements, Inc., 5 F. Supp 3d., at 1382. If she were bound

to the agreement somehow—a circumstance this provision does not suggest—

an illusory contract may exist. But Ms. Meekins does not allege any facts

indicating that T-Mobile has terminated the contract while she remains bound

to it. In short, then, the agreement is not illusory.

      Second, the agreement to arbitrate does not seem to limit Ms. Meekins’s

remedies. Concerning the shortening of the statute of limitations that the

agreement contains and Ms. Meekins challenges, “arbitration clauses limiting

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the applicable statute of limitations are repeatedly upheld by Florida courts.”

Pilitz v. Bluegreen Corp., 2011 WL 3359641, at *6 (M.D. Fla. Aug. 4, 2011).

Additionally, this Court observes that in the Terms and Conditions, the

arbitrator is permitted to “AWARD THE SAME DAMAGES AND RELIEF AS

A COURT (INCLUDING ATTORNEYS’ FEES).” ECF No. 13-1, Exs. 1 & 3, at

¶ 2. Any limitations on damages or monetary relief are explicitly barred if they

are “PROHIBITED BY LAW.” Id. at ¶ 24.

      Before further engaging in substantive analyses of the alleged

restrictions on damages, however, this Court notes that because the dispute is

to be arbitrated, “an arbitrator and not a court should decide the validity of the

remedial restriction provisions.” Anders v. Hometown Mortg. Servs., Inc., 346

F.3d 1024, 1032 (11th Cir. 2003). As the Supreme Court has held, “unless the

challenge is to the arbitration clause itself, the issue of the contract’s validity

is considered by the arbitrator in the first instance.” Buckeye Check Cashing,

Inc. v. Cardegna, 546 U.S. 440, 445–46 (2006). Here, because Ms. Meekins is

challenging provisions related to damages in T-Mobile’s Terms and Conditions

and Service Agreement that are beyond their arbitration clauses, “the

arbitrator in the first instance” is the better-suited individual to address this

claim. Id. at 446.

      Finally, the arbitration agreement is neither procedurally nor

substantively unconscionable. Under Florida law, “[a]n agreement to arbitrate

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will be deemed unenforceable on grounds of unconscionability when it is both

procedurally and substantively unconscionable.” Fla. Holdings III, LLC v.

Duerst, 198 So. 3d 834, 838 (Fla. 2d DCA 2016) (citations omitted); see also

Basulto v. Hialeah Automotive, 141 So. 3d 1145, 1161 (Fla. 2014).

      Courts consider four factors to determine whether an arbitration

agreement is procedurally unconscionable under Florida law: (1) the manner

in which the contract was entered; (2) the relative bargaining power of the

parties and whether the complaining party had a meaningful choice at the time

of the contract’s formation; (3) whether the terms were on a “take-it-or-leave-

it” basis; and (4) the complaining party’s ability and opportunity to understand

the disputed terms of the contract. See Pendergast v. Sprint Nextel Corp., 592

F.3d 1119, 1135 (11th Cir. 2010) (outlining these four factors).

      Here, none of the four factors manifest themselves from the facts alleged.

There is no claim that Ms. Meekins “was unduly pressured or harassed to enter

into the Service Agreement.” Owings v. T-Mobile USA, Inc., 978 F. Supp. 2d

1215, 1224 (M.D. Fla. 2013). Additionally, the Terms and Conditions—which,

as described above, were incorporated by reference into the Service

Agreement—provided an opt-out provision to consumers to settle disputes in

court, instead of through arbitration. See ECF No. 13-1, Exs. 1 & 3, at ¶ 2. Ms.

Meekins argues that because she only received the Service Agreement from T-

Mobile, she “never opted in, [and so] she never had the opportunity to opt out.”

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ECF No. 18, at 17. Ms. Meekins, however, agreed to the Terms and Conditions

when she executed the Service Agreement, including the opt-out provision.

Although Ms. Meekins alleges she never saw the Terms and Conditions, her

acknowledgement that “the service agreement states that Plaintiff is required

to arbitrate unless she opted out previously” indicates she was aware that a

consumer could opt out of arbitration. Id. This provision in the Service

Agreement provided Ms. Meekins with, at minimum, notice of an opt-out

provision in the Terms and Conditions. She could have, for example, sought

out the specific terms of the incorporated Terms and Conditions to see precisely

what consumers could opt out of, as the Service Agreement specified.

      Further, the Service Agreement that Ms. Meekins executed contained no

“take-it-or-leave it” provision. Having been alerted to the existence of an opt-

out provision in the Service Agreement, she could have inquired into the

provision further and then withdrawn from the arbitration requirements.

Finally, both the Service Agreement and Terms and Conditions were written

in organized and labeled sections that contained bold type and capitalizations

for emphasis. Although these documents are about as entrancing to read as

watching an elderly cat doze in front of a plain wall, no “important terms were

‘hidden in a maze of fine print and minimized by deceptive sales practices.’”

Powertel, Inc. v. Bexley, 743 So. 2d 570, 574 (Fla. 1st DCA 1999) (quoting

Williams v. Walker-Thomas Furniture Co., 350 F.2d 445, 449 (D.C. Cir. 1965)).

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      “[T]here is ample support in existing case law requiring that both prongs

of unconscionability must be established by a proper showing.” Basulto, 141

So. 3d, at 1158–59 (emphasis added). Because Ms. Meekins is unable to

demonstrate that the agreement is procedurally unconscionable, this Court

does not need to engage in an analysis to determine whether the agreement is

substantively unconscionable.

      In conclusion, Ms. Meekins unequivocally entered into a valid and

enforceable arbitration agreement with T-Mobile by signing the Service

Agreement in December 2014. Because that Agreement is not illusory, does not

seem to limit remedies, is not unconscionable, and both incorporated by

reference T-Mobile’s Terms and Conditions, including an arbitration clause,

and explicitly required arbitration, T-Mobile’s motion to compel arbitration is

GRANTED and the case is DISMISSED WITHOUT PREJUDICE. The

Clerk shall close the file.

      If Plaintiff intends to pursue this matter then Plaintiff must arbitrate.

This Court will not maintain the stay but exercises its discretion to dismiss

without prejudice. The parties can move to reopen the file if a party needs to

move to confirm the arbitration award or seek other relief.

      SO ORDERED on October 18, 2017.

                                    s/Mark E. Walker          ____
                                    United States District Judge


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